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                  UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE


United States of America

            v.                            Criminal No. 09-cr-126-02-JL

Jessie Vincent


                                  O R D E R


      The assented to motion to reschedule jury trial (document no.

17) filed by defendant is granted. Continuance limited to 60 days.

      Defendant shall file a waiver of speedy trial rights within 10

days.   The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U.S.C. § 3161(h)(8)(B)(iv), for the

reasons set forth in the motion.

      SO ORDERED.



                                          _______________________________
                                          Joseph N. Laplante
                                          United States District Judge

Date:    August 18, 2009




cc:   Tony F. Soltani, Esq.
      Jon Saxe, AFD
      Robert J. Veiga, AUSA
      U.S. Marshal
      U.S. Probation
